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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ROME DIVISION

    IN RE: JIMMY L. ASLINGER AND              {   CHAPTER 13
           HATTIE J. ASLINGER,                {
                                              {
            DEBTOR(S)                         {   CASE NO. R23-40075-PWB
                                              {
                                              {   JUDGE BONAPFEL


                             OBJECTION TO CONFIRMATION


         COMES NOW K. EDWARD SAFIR, CHAPTER 13 TRUSTEE herein, and
    objects to Confirmation of the plan for the following reasons:

         1.   As unsecured creditors may receive less than in a
    Chapter 7 liquidation, the plan may not conform to 11 U.S.C.
    Section 1325(a)(4).

         2. The Chapter 13 trustee requests that the Debtor(s)
    provide additional documentation to support the valuation of the
    real property disclosed on Schedule A/B.

         3. The Debtor(s) has failed to provide the Trustee with a
    copy of the federal tax return or transcript of such return for
    the most recent tax year ending immediately before the
    commencement of the instant case and for which a federal income
    tax return was filed, in violation of 11 U.S.C. Section
    521(e)(2)(A)(i). Therefore, the Trustee requires that the
    Debtor(s)provide the Trustee with a sworn statement by the
    Debtor(s), in addition to the tax return, which states that the
    tax return provided is a true copy of the most recent tax return
    filed.

         4. The Debtor(s)’ Chapter 13        plan, schedules, and/or
    Statement of Financial Affairs are       inaccurate and/or incomplete;
    the Trustee is unable to determine       either the duration or
    feasibility of the proposed plan.        11 U.S.C. §§ 1325(a)(3) and
    1325(a)(7); specifically, Schedule       C is blank.

         5. The Chapter 13 budget fails to include expenses for
    homeowner’s insurance; thereby, possibly rendering the proposed
    Chapter 13 plan payment to be infeasible, in violation of 11
    U.S.C. Section 1325(a)(6).
    K. Edward Safir, Chapter 13 Trustee
    285 Peachtree Center Ave., NE
    Suite 1600
    Atlanta, GA 30303
    (404) 525-1110
    brandik@atlch13tt.com
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         WHEREFORE, the Trustee moves the Court to inquire into the
    above objections, deny Confirmation of this Debtor's (s') Plan
    and to dismiss the case; or, in the alternative, convert the
    case to one under Chapter 7.


                                   __________/s/_____________
                                   Brandi L. Kirkland, Attorney
                                   for Chapter 13 Trustee
                                   GA Bar No. 423627 or
                                   Albert C. Guthrie, Attorney
                                   GA Bar No. 142399




    K. Edward Safir, Chapter 13 Trustee
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                             CERTIFICATE OF SERVICE


         This is to certify that on this day I caused a copy of the
    foregoing pleading to be served via United States First Class
    Mail, with adequate postage thereon, on the following parties at
    the address shown for each:

    JIMMY L. ASLINGER
    124 TOPPER WAY
    DALTON, GA 30721-9548

    HATTIE L. ASLINGER
    124 TOPPER WAY
    DALTON, GA 30721-9548

    I further certify that I have on this day electronically filed
    the pleading using the Bankruptcy Court's Electronic Filing
    program, which sends a notice of this document and an
    accompanying link to this document to the following parties who
    have appeared in this case under the Bankruptcy Court's
    Electronic Case Filing program:

    SAEGER & ASSOCIATES, LLC

    This 3rd day of March, 2023
                    /s/         ____
    Brandi L. Kirkland, Attorney
    for Chapter 13 Trustee
    GA Bar No. 423627 or
    Albert C. Guthrie, Attorney
    GA Bar No. 142399




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